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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF ARKANSAS
                           NORTHERN DIVISION

GREGORY MICHAEL SONS                                                         PLAINTIFF
#565851

v.                        CASE NO. 3:19-CV-00341-BSM

ANTHONY CARTER, APRN,
Craighead County Detention Center                                          DEFENDANT



                                        ORDER

       Gregory Sons has failed to provide his current mailing address and the time to do so

has expired. [Doc. No. 11] Mail sent to him has been returned undelivered, with no

forwarding address. Doc. Nos. 8, 9, 12 & 13. Accordingly, this lawsuit is dismissed without

prejudice for failure to prosecute. See Local Rule 5.5(c)(2); Fed. R. Civ. P. 41(b). It is

certified that an in forma pauperis appeal would not be taken in good faith. See 28 U.S.C.

§ 1915(a)(3).

       IT IS SO ORDERED this 18th day of September, 2020.



                                                  ________________________________
                                                  UNITED STATES DISTRICT JUDGE
